      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 1 of 42




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




NARESSA COFIELD,
                                                       CIVIL ACTION NO. _____________
               Plaintiff

v.

KIPP NEW ORLEANS, INC.,                                          JURY TRIAL DEMANDED
RHONDA KALIFEY-ALUISE, in her
individual and official capacity, and
OCTAVE LAROCHE, in his individual
and official capacity

               Defendants




                            COMPLAINT AND JURY DEMAND

       COMES NOW Plaintiff Naressa Cofield, by and through undersigned counsel, to file this

Complaint against Defendants. In support, she states the following:

                                   I.     INTRODUCTION

       1.      For years, KIPP New Orleans, Inc. regarded Dr. Cofield as one of their standout

employees. She was liked by her co-workers for her intellect, congenial attitude, and commitment

to KIPP’s mission, and she was well-known and respected within the organization for her advocacy

for racial equality. After years of success with KIPP, Dr. Cofield began to question whether she

and other Black women were paid less than their white and male peers. She expressed her concerns

about the pay inequities to Mr. LaRoche, and others, and advocated for raises, and in turn, was

summarily terminated by Octave (“Joey”) LaRoche. The reason Mr. LaRoche gave for her

termination was blatantly pretextual: he accused her of sharing “confidential” salary information.
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 2 of 42




In reality, this salary information was not confidential, but was freely available as public records.

The salary information showed that Black women were being paid less than white and male peers.

After her termination, KIPP failed to provide Dr. Cofield with her notification of her right to

COBRA coverage, and later, employer-paid COBRA coverage, despite federal law mandating they

do so. As a result, a host of Dr. Cofield’s rights under federal and state law were violated, resulting

in substantial emotional and economic injuries.

                             II.     JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Dr. Cofield’s federal claims arise under the Constitution and the laws of the United States. This

Court has jurisdiction over Dr. Cofield’s state law claims in accordance with 28 U.S.C. § 1367.

       3.      Venue is proper in this district under 42 U.S.C. § 2000e-5(f)(3) because the

unlawful employment practices alleged herein were committed in the Eastern District of Louisiana,

and under 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to the claim

occurred in Orleans Parish, Louisiana, situated in the Eastern District of Louisiana.

                                         III.    PARTIES

       4.      Plaintiff NARESSA COFIELD is an individual of suitable age and capacity to file

this suit. At all relevant times to this suit, Dr. Cofield resided in Orleans Parish in the Eastern

District of Louisiana. She worked for KIPP, in New Orleans, Louisiana during the time relevant

to this Complaint.

       5.      Defendant KIPP NEW ORLEANS, INC. (“KIPP”) is a non-profit organization

incorporated under the laws of the state of Louisiana and located in Orleans Parish in the Eastern

District of Louisiana. KIPP New Orleans, Inc. is affiliated with the Knowledge is Power Program,

which is a national network of tuition-free, public charter schools in low-income communities and

is the country’s largest network of public charter schools. Defendant KIPP was established in 2005

                                                  2
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 3 of 42




for the purpose of operating public charter schools in New Orleans under the jurisdiction of the

Orleans Parish School Board. The state Board of Elementary and Secondary Education approved

the granting of charters to KIPP to operate public schools in New Orleans. All public schools in

New Orleans, Louisiana are charter schools supervised by the Orleans Parish School Board. Now,

Defendant KIPP currently operates eight public schools in New Orleans, which enroll over 6,000

students in grades Pre-Kindergarten through 12. KIPP’s operation of these public schools is

supervised by the Louisiana Board of Elementary and Secondary Education and the Louisiana

Department of Education. KIPP directly receives over $23,000,000 a year in Louisiana state public

school funds. Enrollment for KIPP schools is overseen and administered through the Orleans

Parish School Board system. La.R.S. Section 17:1392 et seq. defines charter schools in Louisiana

as “public schools[.]” KIPP performs a public function by providing public education funded by

state and federal funds, without the payment of any private tuition, an essential state function, and

therefore, is functioning as a public actor under the color of state law. Defendant KIPP receives

over $15,000,000 a year in federal financial assistance, which it used for the sole purpose of

operating the school, including the payment of staff salaries. Dr. Cofield’s salary was also

supported by federal funds. KIPP employs over 860 individuals in New Orleans, Louisiana,

including 60 employees in its regional office.

       6.      Defendant RHONDA KALIFEY-ALUISE was a supervisor of Dr. Cofield and

worked for Defendant KIPP at all times relevant to this Complaint as the Executive Director. On

information and belief, Ms. Kalifey-Aluise is domiciled in Orleans Parish in the Eastern District

of Louisiana. She is sued in her individual and official capacity.

       7.      Defendant OCTAVE (“JOEY”) LAROCHE was a supervisor of Dr. Cofield and

worked for KIPP at all times relevant to this Complaint as the Chief Strategy Officer. On



                                                 3
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 4 of 42




information and belief, Mr. LaRoche is domiciled in Orleans Parish in the Eastern District of

Louisiana. He was a supervisor of Dr. Cofield and an employee of KIPP. He is sued in his

individual and official capacity.

                  IV.     EXHAUSTION OF ADMINISTRATIVE REMEDIES

       8.      On January 21, 2021, Dr. Cofield timely filed an Equal Employment Opportunity

Commission (EEOC) Charge of Discrimination alleging race and sex discrimination and

retaliation by Defendant KIPP.

       9.      On March 31, 2021, Dr. Cofield filed a First Amended EEOC Charge of

Discrimination, which added hostile work environment claims and violations of the Equal Pay Act

to her original Charge.

       10.     Dr. Cofield requested a Notice of Right to Sue on November 11, 2021, after more

than 180 days had elapsed since the EEOC assumed jurisdiction over her Charge of

Discrimination.

       11.     On November 18, 2021, the EEOC issued a Notice of Right to Sue pursuant to Dr.

Cofield’s request.

       12.        This Complaint is being filed within 90 days of Dr. Cofield’s receipt of the EEOC’s

Notice of Right to Sue.

       13.     Dr. Cofield has fully complied with all prerequisites to jurisdiction in this Court

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq. (“Title VII”) and the

Louisiana Employment Discrimination Law (“LEDL”).




                                                  4
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 5 of 42




                                         V.     FACTS

       A.      Dr. Cofield is a Talented and Skilled Educator with More Than a Decade of
               Professional Experience in Education Policy and Strategy.

       14.     Dr. Cofield, a Black woman, is an accomplished educator with an extensive

professional background in education policy, strategy, and talent.

       15.     She holds a Ph.D. and an M.S. from Purdue University’s School of Civil

Engineering, a Master of Arts in Teaching (M.A.T.) from the Relay Graduate School of Education,

and a Master of Education Degree (M.Ed.) from the Broad Center for the Management of School

Systems.

       16.     Dr. Cofield began her work in education in 2010 with The Broad Residency in

Urban Education at the Louisiana Department of Education, where she oversaw the development

of the State’s educator support and evaluation system, led district- and state-wide school

turnaround efforts, and worked on obtaining over $35 million in educational grants.

       17.     Dr. Cofield subsequently served as the Director of Excellence in Programming for

the Choice Foundation for four years.

       B.      Dr. Cofield Joined KNOS in 2017 and Immediately Became One of its Star
               Employees.

       18.     Dr. Cofield applied to participate in KIPP’s two-year teacher residency program,

which allowed her to earn both her M.A.T. and her teaching certification while simultaneously

gaining intensive firsthand experience in the classroom to further deepen her educational policy

and strategy expertise. In 2017, KIPP hired Dr. Cofield as a Resident, and she began working as a

Fourth Grade Humanities teacher at KIPP Leadership Primary in New Orleans, Louisiana, one of

the schools in KIPP’s charter network.

       19.     Dr. Cofield immediately excelled in the classroom, and at the end of her first year

of teaching, she was a finalist for KIPP’s Rookie of the Year Award.

                                                5
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 6 of 42




       20.     Dr. Cofield obtained her teacher certification in elementary education in 2018.

On June 30, 2019, Dr. Cofield successfully completed her two-year residency with KIPP, and she

earned her M.A.T. in Special Education.

       21.     When Dr. Cofield’s teaching role concluded at the end of her two-year residency,

KIPP quickly recruited her to continue working for the organization due to her success in the

classroom and impressive professional background.

       22.     On July 22, 2019, KIPP formally offered Dr. Cofield a full-time position as Director

of Talent Strategy, a role that she was eminently qualified for based on her extensive academic

and professional background in classroom teaching, education policy, and talent, teacher, and

leader effectiveness. Monique Maldonado, KIPP’s Director of Human Resources at the time,

advised Dr. Cofield that her annual salary in this role would be $75,000.

       23.     Dr. Cofield was surprised by the relatively low starting salary offered by KIPP, as

she had earned between $20,000 to $40,000 more per year in substantially similar positions she

previously held at other non-profit organizations and state agencies. Assuming all KIPP salaries

were paid below market value due to the organization’s nonprofit status, Dr. Cofield accepted the

role based on her positive experiences in the classroom during her KIPP residency.

       24.     As Director of Talent Strategy, Dr. Cofield was supervised by Defendant Octave

(“Joey”) LaRoche (Black male), Chief Strategy Officer for KIPP at all times relevant to this

Complaint.

       25.     In addition to Dr. Cofield, Mr. LaRoche also supervised Kevin Barnes (Black

male), Managing Director of Engagement; Curtis Elmore (Black male), Director of

Communications; Bridget Burns (Black female), Director of Recruiting; and Amani Khabeer

(Black female), Talent Strategy Manager.



                                                6
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 7 of 42




       C.      Despite Dr. Cofield’s Accomplishments and Exemplary Performance at
               KNOS, She Was Vastly Underpaid Compared to Her Peers.

       26.     Dr. Cofield immediately made a positive impact after returning to KIPP in her new

role. In her first month of employment alone, she implemented a new teacher evaluation rubric

and data observation collection tool that improved the reporting and analysis of teacher

performance data.

       27.     From the beginning, Dr. Cofield did not hesitate to take on any additional job duties

that would further KIPP’s stated mission of “racial justice and equitable opportunity for . . .

students, families, and staff.” For instance, when the Director of Coaching and Development left

her position with KIPP in September 2019, Dr. Cofield assumed about 25% of her job duties,

including the roll-out and norming of the new teacher evaluation rubric. Soon afterward, KIPP’s

Director of Data left the organization, and Dr. Cofield again filled the void by completing all end-

of-year data analyses.

       28.     As a result of these additional job duties, Dr. Cofield had to work between 60 to 70

hours a week on average. She received no additional compensation for performing these additional

job duties.

       29.     In December 2019, Dr. Cofield was shocked to learn that, despite her hard work,

commitment, and continuing success, she was one of the lowest-paid director-level employees at

KIPP. Most KIPP employees with her level of job responsibilities – many of whom were male, or

Caucasian, and did not hold doctorate degrees – were paid $90,000 or more per year on average.

       30.     Dr. Cofield also discovered that she and the other Black female employees

supervised by Mr. LaRoche were paid thousands of dollars less per year than their similarly

situated male peers.




                                                 7
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 8 of 42




       31.    Dr. Cofield only earned a salary of $75,000 in the 2019-2020 academic year,

despite holding a doctorate degree and having years of experience working for KIPP both in the

classroom and in the School Support Center.

       32.    Similarly, Bridget Burns (Black female) held a Masters’ Degree and had served as

KIPP’s Director of Recruiting since October 2017. She earned a salary of $80,676.15 in the 2019-

2020 academic year.

       33.    Amani Khabeer (Black female), Talent Strategy Manager, held a Bachelor of

Science and had worked for KIPP since September 2018. She earned a salary of $62,229.62 in

2019-2020.

       34.    In contrast, Curtis Elmore (Black male), Director of Communications, held a B.A.

in Marketing and had only started working for KIPP in May 2019. Nonetheless, Mr. Elmore earned

a starting salary of $87,300 during the 2019-2020 academic year – nearly 15% more than the salary

KIPP paid to Dr. Cofield, and 10% higher than Ms. Burns’, even though they had worked at KIPP

longer than Mr. Elmore and had more extensive educational experience.

       35.    Jonathan Bertsch (white male), Mr. Elmore’s predecessor as Director of

Communications, held a Master of Education degree. Prior to his departure from KIPP, Mr.

Bertsch was paid an annual salary of $93,486.74 – approximately $12,810 more than Ms. Burns,

who also held an M.Ed., and nearly $18,500 more than Dr. Cofield, who held an M.Ed. and a

doctorate degree.

       36.    Kevin Barnes (Black male), Managing Director of Engagement, held a B.A. in

Mass Communications and only began working in this position in December 2018. He earned a

salary of $100,600.08 during the 2019-2020 academic year.




                                               8
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 9 of 42




       37.     Based on these discrepancies, Dr. Cofield realized her compensation needed to be

increased, particularly considering the praise she continued to receive from her supervisors. In

December 2019, for example, Todd Purvis, Chief Academic Officer, had commended her excellent

data skills, and Rhonda Kalifey-Aluise, Chief Executive Officer, praised her leadership abilities

after that month’s Talent Review. Other praise for Dr. Cofield’s performance soon followed. In

January 2020, Joey LaRoche, Chief Strategy Officer, praised her performance and acknowledged

that she was actually performing job duties equivalent to one-and-a-half full-time positions. Given

her achievements in her new role, Dr. Cofield was hopeful that KIPP would increase her salary to

a more equitable amount if she raised the issue.

       D.      KIPP’s Decisionmakers Repeatedly Refused Dr. Cofield’s Requests for
               Equitable Compensation.

       38.     In January 2020, Dr. Cofield asked to speak to Mr. LaRoche about her

compensation in their next one-on-one weekly check-in, but he never gave her a chance to do so.

She then added the compensation conversation to the written agenda for their next weekly check-

in.

       39.     Despite this, Mr. LaRoche failed to discuss compensation with Dr. Cofield at their

next meeting. Mr. LaRoche continued to ignore the one-on-one agenda items regarding Dr.

Cofield’s compensation throughout March and April 2020.

       40.     On April 22, 2020, Dr. Cofield finally insisted upon having a conversation about

her inequitable salary with Mr. LaRoche. Dr. Cofield coupled her request for a raise with a

PowerPoint presentation proposing a structural reorganization that would not only support her

requested equal salary but would actually save KIPP money overall. However, Mr. LaRoche

refused to consider Dr. Cofield’s request, claiming that KIPP’s funds were limited as a result of

the coronavirus pandemic. He also stated that it was “uncommon” for KIPP to give employees


                                                   9
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 10 of 42




significant pay raises, even in normal years. Mr. LaRoche further advised Dr. Cofield that, due to

the pandemic, no KIPP employees would be receiving a raise in 2020 – not even the customary

annual 2% cost-of-living salary adjustment.

       41.     Despite Mr. LaRoche’s representations, many of Dr. Cofield’s white female

colleagues and other male employees at KIPP not only received raises in 2020, but they also

received raises that far exceeded a 2% salary increase, often while maintaining the same job title,

including:

               a. Amanda Cole (white female), Math Achievement Director (17.39% raise);

               b. Emily Maletic (white female), Math Achievement Director (16.71% raise);

               c. Sharon Marcus (white female), Achievement Manager (13.49% raise);

               d. Aron Walker III (Black male), Director of School Operations at KIPP-operated

                   John F. Kennedy High School (10.75% raise);

               e. Jessica Taylor (white female), Director of Special Education (10.56% raise);

               f. Monica Vaughn-Flam (white female), English Language Learner Manager

                   (8.25% raise).

       42.     Other male and white female KIPP employees were promoted and compensated

accordingly, despite the ongoing pandemic, including Patrick Doyle (white male), who received a

10.82% raise after being promoted from Data Coordinator to Student Systems Analyst, and

Breanna Gavini (white female), who received a 24.20% raise after being promoted from Data

Analyst to Interim Director of Data, Assessment & Accounts.

       43.     Despite KIPP’s refusal to increase her compensation, Dr. Cofield remained a

committed employee. She served on additional grant teams in April 2020 and implemented new

teacher preparation policies the same month.



                                                10
        Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 11 of 42




         44.   In May 2020, in preparing a proposal for the new Teacher & School Leader (TSL)

federal grant funding, Mr. LaRoche proposed hiring several new employees at starting salaries

higher than Dr. Cofield’s annual salary.

         45.   On May 21, 2020, Dr. Cofield asked Mr. LaRoche if he would consider including

a salary raise in their calculations of how to utilize the new TSL grant money.

         46.   On May 26, 2020, Mr. LaRoche responded that he would be willing to hear a

“compelling case for why” Dr. Cofield deserved a raise, but once again claimed that KIPP was

considering eliminating pay raises for current employees altogether for the upcoming academic

year.

         47.   In response to Mr. LaRoche’s request for more information, during a May 29, 2020

phone call, Dr. Cofield walked Mr. LaRoche through another PowerPoint presentation detailing

her success as KIPP’s Director of Talent Strategy, her collaborative work with other key members

of KIPP’s “People Team,” her professional accomplishments, her commitment to furthering the

organization’s goals, and her dedication to effecting change in New Orleans’ public schools. Dr.

Cofield’s PowerPoint also provided factual support showing the blatant wage disparities between

KIPP’s Black female employees and their white and male colleagues, such as one slide, titled

“Wage Disparity,” which noted that “[i]n America, Black women make $0.62 for every $1 white

men make” and “[i]n Louisiana, it is $0.47.” Dr. Cofield also noted that the average KIPP director

salary was $94,514.17, nearly $20,000 more than her annual salary. She then highlighted four

white peers in director-level positions who were paid $5,000 to more than $32,000 more than her

each year.




                                                11
     Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 12 of 42




         48.   In a KIPP grant proposal in May 2020, Mr. LaRoche refused to include a raise for

Dr. Cofield, despite knowing that KNOS had yet to allocate $600,000 to $800,000 of the new grant

funds.

         49.   Over the next several months, Dr. Cofield continued to add to her list of

accomplishments. She led cost-saving initiatives by negotiating workshop pricing for the

Standards Institute, Together Leader, and Teach Like a Champion. Further, she led certification

efforts and was training the Human Resources team on state certification policies and processes.

She revamped and expanded the Teacher Residency program to increase retention, automated the

Talent Management Scoring and Analysis Tools for Talent Review, and led efforts to obtain

additional funding. In June 2020, she obtained a $600,000 grant from NOLA Public Schools.

         E.    KIPP Continued to Ignore Dr. Cofield’s Requests for an Equal Salary While
               Publicly Announcing Its Commitment to Equitable Hiring Policies.

         50.   On June 17, 2020, Rhonda Kalifey-Aluise, Executive Director of KIPP, sent an e-

mail to all KIPP employees and staff emphasizing the organization’s commitment to adopting

“equitable hiring and promotion policies.” In the same e-mail, Ms. Kalifey-Aluise announced that

KIPP would be “mov[ing] forward with annual teacher compensation step increases . . . [and] non-

instructional cost of living adjustment” for school support center employees such as Dr. Cofield.

         51.   The next day, at KIPP’s June 18, 2020 School Board meeting, Ms. Kalifey-Aluise

announced that KIPP was “urgently executing” work concerning “diversity, equity, and inclusion

[DEI].” Mr. LaRoche reported that KIPP was training employees “on equitable hiring processes .

. . to better eliminate bias,” and Ms. Kalifey-Aluise stated that KIPP would be “revisit[ing] its

existing DEI plan, examin[ing] organizational practices, and gather[ing] feedback to advance the

work of becoming a more anti-racist organization.” Ms. Kalifey-Aluise and Mr. LaRoche also




                                               12
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 13 of 42




detailed KIPP’s plan to work with “DEI consultants” to “lead . . . school leadership teams through

planning a school-based equity agenda for the upcoming year.”

        52.     On July 9, 2020, Mr. LaRoche offered Dr. Cofield a $10,000 stipend, but only if

she agreed to serve as the coordinator of KNOS’s diversity, equity, and inclusion (“DEI”) activities

in addition to all her other job duties.

        53.     On July 10, 2021, Dr. Cofield responded to Mr. LaRoche that she was already

performing the work of one and a half people and could not take on these DEI responsibilities,

which would require an additional 10 to 15 hours of work per week, for a one-time stipend.

However, she advised Mr. LaRoche that she would be glad to accept these duties in exchange for

a corresponding increase in her base compensation. She also expressed her concern that her

disproportionately low salary “is not commensurate with [her] experience, expertise and impact,

and highlights race and gender gaps at the Director level.”

        54.     Later on July 10, 2020, Mr. LaRoche admitted that Dr. Cofield was performing

exceptionally but denied her request for a raise.

        55.     On the same day, Dr. Cofield emailed Ms. Kalifey-Aluise requesting a meeting to

discuss her role and responsibilities at KIPP. However, Ms. Kalifey-Aluise never acknowledged

or responded to her email.

        F.      Dr. Cofield Attempted to Assist Other Underpaid Black Female Employees
                with Requesting Equal Salaries.

        56.     KIPP’s public-facing commitment to equity and diversity while, at the same time,

silencing any complaints about KIPP’s employment practices from Black female employees,

merely strengthened Dr. Cofield’s determination to close the organization’s wage gap.

        57.     Motivated by her own struggle to achieve equal pay, Dr. Cofield began to assist

other underpaid Black women with requesting additional compensation from KIPP.


                                                    13
         Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 14 of 42




          58.   In October 2020, Jenni Seckel, Principal of KIPP Leadership Primary, reached out

to Dr. Cofield to discuss Lenore “Missy” Scott, an exceptional Black educator who Dr. Cofield

had met while teaching at KIPP. Ms. Scott was a New Orleans native and high-performing teacher

with an unwavering commitment to her students who has had a profound impact on student

achievement and her school’s culture. Ms. Scott was working to earn her bachelor’s degree while

teaching and, upon conferral of her degree, would be eligible to move from the paraprofessional

pay scale to the teacher pay scale. Dr. Cofield agreed with Ms. Seckel who believed Ms. Scott

should receive the increased salary of a third-year teacher, instead of a first-year teacher, upon

receipt of her degree due to her exemplary performance in the classroom over the past three years.

          59.   On October 21, 2020, Dr. Cofield discussed Ms. Scott’s compensation with Mr.

LaRoche, explaining that Ms. Scott was a smart, strong, and successful employee, an excellent

role model for her students, and exactly the type of educator KIPP should prioritize for retention.

When Mr. LaRoche asked for additional information, Dr. Cofield responded with a detailed email

describing Ms. Scott’s many accomplishments, quantifying Ms. Scott’s profound impact on her

students’ MAP scores and reading fluency. Dr. Cofield also emphasized that it would “cost KNOS

and kids more in the long run to recruit, hire, train, and develop someone who is as committed,

having [a] positive impact, and on the same trajectory as Missy.”

          60.   In their subsequent one-on-one meetings, Mr. LaRoche said that he had not

reviewed the ample additional information Dr. Cofield had provided in support of Ms. Scott’s

raise.

          61.   In another meeting, Mr. LaRoche said he did not think Ms. Scott could receive the

third-year teacher raise due to state law and finance audit findings prohibiting this type of salary

increase. Dr. Cofield continued to follow up with Mr. LaRoche in their one-on-one meetings.



                                                14
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 15 of 42




       62.     On November 4, 2020, Mr. LaRoche said that he still had not reviewed the

additional information supporting Ms. Scott’s raise and that it would take a year to review

compensation to identify other teachers in a similar situation.

       63.     On November 10, 2020, Dr. Cofield re-sent Mr. LaRoche the additional

information to support Ms. Scott’s raise.

       64.     On November 18, 2020, Dr. Cofield followed up with Mr. LaRoche regarding the

request to increase Ms. Scott’s salary. However, Mr. LaRoche again claimed that state law and

finance audit findings prevented him from paying her as a third-year teacher.

       G.      KNOS Retaliated Against Dr. Cofield for Discussing its Discriminatory
               Compensation with Other Employees by Abruptly Terminating Her
               Employment.

       65.     Dr. Cofield’s attempts to help Ms. Scott only strengthened her determination to

help not just herself, but also other Black female employees, achieve pay equity. In response, Mr.

LaRoche swiftly targeted Dr. Cofield for termination. Nonetheless, Dr. Cofield remained

committed to ensuring that KNOS’s public funds were used to pay her and other employees

equally, regardless of race or gender.

       66.     On December 2, 2020, Mr. LaRoche informed Dr. Cofield he had “great feedback”

for her in her upcoming evaluation, referred to as a “360 Survey.” Dr. Cofield asked about Ms.

Scott’s salary again. Mr. LaRoche informed Dr. Cofield that Ms. Scott would be paid as a first-

year teacher. Dr. Cofield also complained to Mr. LaRoche that she and Bridget Burns, a Black

woman, and the Director of Recruitment, were paid less than Curtis Elmore, Communications

Director, who was male and had less education and experience. Despite sharing this information

with Mr. LaRoche, he refused to increase either woman’s salary.

       67.     After that meeting, Dr. Cofield informed Ms. Scott’s supervisor, Ms. Seckel, that

she was unable to assist Ms. Scott in getting a higher salary.
                                                 15
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 16 of 42




       68.     On December 3, 2020, Dr. Cofield and Ms. Mills discussed Cheryl Flotte, and Dr.

Cofield agreed to see if she could help Ms. Flotte get a performance stipend for her outstanding

work that year.

       69.     The same day, Dr. Cofield spoke to Francis Giesler, School Leader Coach, to get

her final approval on teacher leader stipends for schools she supports. She asked Ms. Giesler to

approve the stipend for Ms. Flotte. Previously, when Dr. Cofield asked, Mr. LaRoche refused to

grant Ms. Flotte a stipend, claiming he could not because she was a paraprofessional. However,

Mr. LaRoche approved the same type of stipend for a male paraprofessional teacher and football

coach. Ms. Giesler agreed to the stipend and shared with Dr. Cofield her concerns with KNOS’s

“confidential” salary policy, her inability to support school-based salary decisions as a senior

leader, as well as her shock and frustration regarding Ms. Scott only being eligible for a first-year

teacher salary despite her years of positive impact. During that conversation, Dr. Cofield also

shared her concerns about Ms. Scott’s salary and that she and Ms. Burns were also underpaid based

on race and gender. Ms. Giesler asked for all related documentation and Dr. Cofield immediately

provided her relevant emails and data regarding her concerns.

       70.     Ms. Giesler agreed to discuss the issue with Mr. Purvis. Just hours later, on the

evening of December 3, 2020, Mr. LaRoche informed Dr. Cofield he was “digging into the Missy

[Scott] situation with HR.”

       71.        At 8:16 AM the next day, Mr. LaRoche sent Dr. Cofield a text message ordering,

“Give me a call now. Need to talk to you.” Soon after, Mr. LaRoche and Dylan Penny, Director of

Human Resources, terminated Dr. Cofield, effective immediately. Mr. Penny informed her she

was being terminated for sharing “confidential salary information” of other KIPP employees,

which he alleged to be unprofessional and a breach of confidentiality.



                                                 16
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 17 of 42




       72.     On December 7, 2020, Dr. Cofield asked Mr. Penny to confirm that she was

terminated for “sharing confidential salary information for other employees, specifically a salary

analysis/comparison, across the region?” He responded that she was terminated for a “breach of

confidentiality and showing lack of professionalism.

       73.      The same day, Dr. Cofield received results from the 360 Survey in which Mr.

LaRoche noted that: “I consistently tell people that Naressa knows how to unravel complicated

things and push forward a large amount of work.” Numerous reviewers commented on Dr.

Cofield’s commitment to diversity, equity, and inclusion, and noted her efforts to work toward

those goals during her employment.

       H.      Soon after her Termination, KIPP admitted the Salary Information was Not
               Confidential

       74.     Further, Dr. Cofield’s attorneys submitted a Public Records Request on behalf of

Dr. Cofield on January 8, 2021, to Kevin Barnes, KIPP records custodian. Among other

documents, the request asked for “[a]ll salary data for all teachers, administrative and support staff,

and any other individuals employed by KIPP[.]” In response, KIPP’s counsel responded that

“[h]aving reviewed your request, KIPP New Orleans School (“KNOS”) does not claim an

exemption from disclosure.” When the records were produced, they contained vast amounts of

salary data for the same salaries that KIPP alleged were “confidential” when it terminated Dr.

Cofield.

       75.     The public records, and the EEOC Position Statement submitted by KIPP, revealed

even more information regarding the failure to pay Dr. Cofield equal to her peers. For example,

Kevin Barnes, a Black male who also reported to Mr. LaRoche as the Managing Director of

Engagement, made at least $25,000 more than Dr. Cofield per year. Similarly, Curtis Elmore,

another Black male who reported to Mr. LaRoche, served as the Director of Communication and


                                                  17
     Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 18 of 42




was paid $12,000 more than Dr. Cofield. Mr. Elmore’s predecessor, a white male, Jonathan

Bertsch, was paid $18,487 more than Dr. Cofield.

       76.    In its EEOC Position Statement, KIPP also admitted that it fired Dr. Cofield for

seeking a 2% pay raise for herself and Ms. Burns.

       I.     KNOS Continued to Retaliate Against Dr. Cofield After She Was Wrongfully
              Terminated.

       77.    The same day as her termination, KIPP promised to provide information related to

her COBRA coverage election rights, as required by federal law. That notification was required

by federal law to be delivered to Dr. Cofield by January 22, 2021. However, KIPP failed to timely

provide Dr. Cofield with notification of her right to COBRA coverage.

       78.    On March 13, 2021, the EEOC notified Defendants that Dr. Cofield had filed a

Charge of Discrimination against KIPP. Two days later, on March 15, 2021, Defendant Kalifey-

Aluise downloaded Dr. Cofield’s EEOC Charge of Discrimination.

       79.    After learning about Dr. Cofield’s EEOC Charge, Defendants continued

withholding information regarding Dr. Cofield’s right to COBRA coverage for months.

       80.    On June 7, 2021, Dr. Cofield finally received her right to COBRA coverage for the

first time. That notification also contained belated notification of her right to employer-paid

coverage under the ARPA, and notification regarding those rights was due to Dr. Cofield by May

31, 2021.

       J.     Defendants Targeted Other Black Women as Well

       81.    Other female and Black employees also experienced discrimination while working

at KIPP. For example, at KIPP Believe Primary (“KBP”), successive white leaders were placed in

positions of power by Defendants and enacted policies that discriminated against Black female

teachers like Danielle Matthews. From 2017 to 2019 she was given more difficult students to


                                               18
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 19 of 42




manage, expected to utilize more rigorous discipline with those students, and then denied

assistance when they requested it. Ms. Matthews noticed that the white leadership passed up Black

teachers for lower-level leadership positions in favor of white candidates. In November 2019, Ms.

Matthews (complained to Rachael Parker (white female), Principal of KBP, about the lack of

administrative support she was receiving for her special education students, who had severe

disabilities and required constant intensive care. Ms. Matthews also expressed concern regarding

KIPP’s pattern of incorrectly assigning children with behavioral issues to her self-contained

special education classroom in violation of their Individual Education Plans (IEPs), which required

placement in a general classroom with the assistance of a paraprofessional. Ms. Parker never

responded to her concerns, and instead disciplined Ms. Matthews by placing her a Personal

Improvement Plan. When Ms. Matthews pointed out that this severe level of discipline violated

KIPP’s progressive discipline model, Ms. Parker merely told Ms. Matthews that she “should have

known better.” Ms. Parker subsequently denied Ms. Matthews’ requests for a pay increase and,

despite Ms. Matthews’ positive peer reviews and the excellent performance of her students,

selected white employees with less experience for promotions instead of Ms. Matthews. Exhausted

with the constant retaliation for voicing her concerns, Ms. Matthews left her employment with

KIPP.

        82.    Black teachers at KIPP Leadership Primary experienced similar discrimination. For

example, Jessica Lamb, a Black woman, reported race discrimination and retaliation to Libby Bain,

Director of Talent Acquisition in 2017 when she was pushed out of her position as a teacher.

        83.    The same pattern existed for those who work in administration like Dr. Cofield. For

example, Neia Limar (Black female), former Executive Assistant to KIPP’s executive officers,

including Ms. Kalifey-Aluise and Mr. LaRoche, was retaliated against after she resigned from a



                                                19
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 20 of 42




second position as a Spanish teacher in January 2020 upon learning that she would be expected to

work for no pay. Ms. Limar initially accepted the second job and asked what compensation she

would receive for this additional position. KIPP did not respond before classes began. Nonetheless,

Ms. Limar was eager to help KIPP’s students, and she began teaching the class anyway. Shortly

thereafter, Mr. LaRoche informed Ms. Limar that she would not be paid anything for teaching the

Spanish class, despite the fact that she was working far more than 40 hours per week in order to

perform both jobs. Upon learning that she would not be paid, Ms. Limar stepped down from her

new position as a Spanish teacher. Just three days later, Ms. Kalifey-Aluise informed Ms. Limar

that she was being put on a disciplinary Performance Improvement Plan for “not meeting the job

standards of an Executive Assistant.”

                                 VI.     CLAIMS FOR RELIEF

                                    COUNT 1
    Fourteenth Amendment’s Equal Protection Clause of the United States Constitution
                            Pursuant to 42 U.S.C. § 1983
                              (Against all Defendants)

       84.     Dr. Cofield hereby incorporates all paragraphs of this Complaint.

       85.     Title 42 U.S.C. Section 1983 is the jurisdictional vehicle appropriate to obtain relief

for a violation of the United States Constitution.

       86.     Dr. Cofield belongs to two protected classes: she is a Black female.

       87.     Defendants treated Dr. Cofield differently than white males when, among other

actions, she was subjected to adverse employment actions when Defendants paid her less than her

white and/or male peers, refused to give her raises, and terminated her.

       88.     This differential treatment was due to Dr. Cofield’s membership in protected

classes.

       89.     Dr. Cofield was qualified for the positions she held.

                                                 20
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 21 of 42




       90.     The unequal, and discriminatory, treatment of Dr. Cofield stemmed from

Defendants’ discriminatory intent.

       91.     Individual defendants engaged personally in the deprivation of Dr. Cofield’s

constitutional rights as they perpetuated, and engaged in, the differential treatment, and although

aware of the constitutional violations, did nothing to remedy the violations.

       92.     Defendant KIPP, and all the Defendants in their Official Capacities, are liable

because Defendant KIPP, and the final policymaker, Defendant Kalifey-Aluise, deprived Dr.

Cofield of her constitutional rights, all actions taken against her were taken pursuant to an official

policy and custom or practice of KIPP. Further, Defendants KIPP and Kalifey-Aluise failed to

train and supervise Defendant LaRoche resulting in the constitutional deprivation. Further, KIPP

failed to adopt necessary policies to ensure employees’ constitutional rights were protected and

fostered a pattern or practice of discrimination against individuals in protected classes.

       93.     Defendants discriminated against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of discrimination, and responded with deliberate indifference.

       94.     Defendants failed to intervene despite awareness of the unreasonable risk that Dr.

Cofield’s rights were being violated and were deliberately indifferent to that risk.

       95.     Defendants’ policy or custom was the moving force leading to the violation of Dr.

Cofield’s constitutional rights.

       96.     Defendants’ conduct violated the clearly established rights of Dr. Cofield, which

reasonable persons in Defendants’ position knew or should have known.

       97.     Defendants failed to intervene despite awareness of the unreasonable risk that Dr.

Cofield’s rights were being violated and were deliberately indifferent to that risk.



                                                 21
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 22 of 42




       98.     As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, compensatory damages, and punitive damages against the individually-named

Defendants, and she has incurred attorneys’ fees and costs.

       99.     The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

       100.    The deprivation of Dr. Cofield’s rights was undertaken by Defendants while acting

under color of state law pursuant to official custom or policy.

       101.    Defendants engaged in discrimination with malice or reckless indifference to Dr.

Cofield’s federally protected rights.

                                        COUNT 2
                     First Amendment Freedom of Speech and Association
                                Pursuant to 42 U.S.C. § 1983
                                  (Against all Defendants)

       102.    Dr. Cofield hereby incorporates all paragraphs in this Complaint.

       103.    Title 42 U.S.C. Section 1983 is the jurisdictional vehicle appropriate to obtain relief

for a violation of the United States Constitution.

       104.    Dr. Cofield exercised her right to freedom of speech as afforded by the First

Amendment to the United States Constitution by speaking out about matters of public concern

when she opposed gender and race discrimination based on pay inequity as to herself and other

Black female employees. She further exercised these rights by advocating for equitable pay for

herself and other Black employees of KIPP.

       105.    Dr. Cofield’s protected speech was not made pursuant to her official job duties.

       106.    Dr. Cofield associated with female Black employees to complain of race

discrimination with respect to pay inequities.




                                                 22
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 23 of 42




       107.    Defendants intentionally and willfully retaliated against Dr. Cofield for exercising

her freedom of speech and association by subjecting her to illegal employment practices and

policies including failing to pay her equal to her peers, refusing her requests for raises, and

terminating her.

       108.    Defendants’ retaliatory conduct was substantially motivated by Dr. Cofield’s

exercise of freedom of speech and association.

       109.    Dr. Cofield’s interest in the speech outweighs the government’s interest in the

efficient provision of public service.

       110.    Individual defendants engaged personally in the deprivation of Dr. Cofield’s

constitutional rights as they perpetuated, and engaged in, the differential treatment, and although

aware of the constitutional violations, did nothing to remedy the violations.

       111.    Defendant KIPP, and all the Defendants in their Official Capacities, are liable

because the final policymaker Kalifey-Aluise deprived Dr. Cofield of her constitutional rights, all

actions taken against Dr. Cofield were taken pursuant to an official policy and custom or practice

of KIPP, Defendants KIPP and Kalifey-Aluise failed to train and supervise the Defendant LaRoche

resulting in the constitutional deprivation, KIPP failed to adopt necessary policies to protect

employees’ constitutional rights, and because there is a pattern or practice of retaliating against

individuals who engage in activity protected by the First Amendment.

       112.    Defendants took these actions against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of discrimination and retaliation, and responded with deliberate indifference.

       113.    Defendants’ policy or custom was the moving force leading to the violation of Dr.

Cofield’s constitutional rights.



                                                 23
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 24 of 42




       114.    Defendants’ conduct violated the clearly established rights of Dr. Cofield, which

reasonable persons in Defendants’ position knew or should have known.

       115.    Defendants acted under color of state law, using a power possessed by virtue of

state law, when depriving Dr. Cofield of her rights.

       116.    Defendants failed to intervene despite awareness of the unreasonable risk that Dr.

Cofield’s rights were being violated and were deliberately indifferent to that risk.

       117.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, compensatory damages, punitive damages against the individually named Defendants,

and has incurred attorneys’ fees and costs.

       118.    The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

       119.    Defendants engaged in retaliation and discrimination with malice or reckless

indifference to Dr. Cofield’s federally protected rights.

                                              COUNT 3
                              Discrimination in Violation of Section 1981,
                                           42 U.S.C. § 1981
                                       (Against all Defendants)

       120.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.

       121.    For public entities, Title 42 U.S.C. Section 1983 is the jurisdictional vehicle

appropriate to obtain relief for a violation of Title 42 U.S.C. § 1981 (“Section 1981”).

       122.    Dr. Cofield has at all times been qualified to perform her job responsibilities and

performed them at all times at least satisfactory.

       123.    Based on her race, Defendants denied Dr. Cofield, a Black woman, the protections

against race discrimination provided by Section 1981 in the terms and conditions of her




                                                  24
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 25 of 42




employment by denying her the same benefits, privileges, and terms and conditions of her

contractual employment relationship that her white counterparts.

       124.    Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white male counterparts by subjecting her to

adverse treatment in the terms and conditions of employment because of her race, including but

not limited to, paying her less than her male peers, refusing her requests for raises, and terminating

her from her employment.

       125.    This differential treatment was motivated by Dr. Cofield’s race.

       126.    Defendants discriminated against Dr. Cofield based on her race, denied her equal

rights to make and enforce contracts, and denied her full and equal benefits of the laws.

       127.    Defendant KIPP and Defendants LaRoche and Kalifey-Aluise, in their official

capacities, are liable for the acts and/or omissions of its agents and employees. Defendants, either

directly or by and through their agents, directly and proximately caused Dr. Cofield’s severe

injuries, damages, and losses.

       128.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, including emotional distress, punitive damages

and she has incurred attorneys’ fees and costs.

       129.    The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

       130.    Defendants discriminated against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of discrimination and responded with deliberate indifference.




                                                  25
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 26 of 42




       131.    The deprivation of Dr. Cofield’s rights was undertaken by Defendants while acting

under color of state law pursuant to official custom or policy.

       132.    Defendants engaged in discrimination with malice or reckless indifference to Dr.

Cofield’s federally protected rights.

                                           COUNT 4
                            Retaliation in Violation of Section 1981
                                 Pursuant to 42 U.S.C. § 1983
                                    (Against all Defendants)

       133.    Dr. Cofield incorporates all paragraphs alleged in this Complaint

       134.    For public entities, Title 42 U.S.C. Section 1983 is the jurisdictional vehicle

appropriate to obtain relief for a violation of Title 41 U.S.C. Section 1981.

       135.    Dr. Cofield engaged in protected activity when she opposed and complained of the

racially discriminatory practices observed, as well as those personally experienced, in her

employment. Dr. Cofield also engaged in protected activity when she tried to rectify this

discrimination with advocacy and other efforts to achieve equal pay for female Black employees

(herself and others) by her to achieve equal pay for female Black employees (herself and others).

       136.    Dr. Cofield believed in good faith that her complaints were regarding

discrimination on the basis of race as prohibited by federal law.

       137.    Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white counterparts by subjecting her to adverse

treatment in the terms and conditions of employment because of her gender and race, including

but not limited to, paying her less than her white peers, refusing her requests for raises, and

terminating her from her employment.

       138.    Defendants’ actions were motivated by Dr. Cofield’s protected activities.




                                                 26
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 27 of 42




        139.    Dr. Cofield was treated less favorably than employees who did not engage in

protected activities.

        140.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, including emotional distress, and punitive

damages, and she has incurred attorneys’ fees and costs.

        141.    The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

        142.    Defendants retaliated against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of retaliation and responded with deliberate indifference.

        143.    The deprivation of Dr. Cofield’s rights was undertaken by Defendants while acting

under color of state law pursuant to official custom or policy.

        144.    Defendants engaged in retaliation with malice or reckless indifference to Dr.

Cofield’s federally protected rights.

                                        COUNT 5
                             Discrimination in Violation of
                  Section 601, Title VI of the Civil Rights Act of 1964,
                                    42 U.S.C. §2000d
  (Against Defendant KIPP and all individually named defendants in their official capacity)

        145.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.

        146.    At all times relevant to this Complaint, KIPP received federal financial assistance.

the primary objective of the federal financial assistance received by KIPP was for the purpose of

providing employment.

        147.    Dr. Cofield is Black, a protected class under Title VI.




                                                 27
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 28 of 42




       148.    Dr. Cofield has at all times been qualified to perform her job responsibilities and

performed them at all times at least satisfactory.

       149.    Defendants used the federal funding to intentionally engage in discriminatory

activities, including, paying Dr. Cofield less than white employees, refusing Dr. Cofield’s requests

for raises, and subjecting Dr. Cofield to termination without valid justification.

       150.    Defendants also intentionally treated Dr. Cofield, and other Black employees,

worse than their white peers.

       151.    Defendants discriminated against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of discrimination, and responded with deliberate indifference.

       152.    Defendant KIPP and Defendants LaRoche and Kalifey-Aluise in their official

capacities are liable for the acts and/or omissions of its agents and employees. Defendants, either

directly or by and through their agents, directly and proximately caused Dr. Cofield’s severe

injuries, damages, and losses.

       153.    Defendants engaged in retaliation with malice or reckless indifference to Dr.

Cofield’s federally protected rights.

       154.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, including emotional distress, and punitive

damages, and she has incurred attorneys’ fees and costs.

                                        COUNT 6
                               Retaliation in Violation of
                  Section 601, Title VI of the Civil Rights Act of 1964,
                                    42 U.S.C. §2000d
  (Against Defendant KIPP and all individually named defendants in their official capacity)

       155.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.


                                                 28
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 29 of 42




       156.    Dr. Cofield engaged in protected activity when she opposed and complained of the

racially discriminatory practices observed, as well as those personally experienced, in her

employment. Dr. Cofield opposed and complained of the discriminatory practices observed, as

well as those personally experienced, in her employment. Dr. Cofield also engaged in protected

activity when she tried to rectify this discrimination with advocacy and other efforts to achieve

equal pay for female Black employees (herself and others) by her to achieve equal pay for female

Black employees (herself and others).

       157.    Dr. Cofield believed in good faith that her complaints were regarding

discrimination on the basis of race as prohibited by federal law.

       158.    Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her counterparts who did not engage in protected activity by subjecting

her to adverse treatment in the terms and conditions of employment because of her gender and

race, including but not limited to, paying her less than her white peers, refusing her requests for

raises, and terminating her from her employment.

       159.    Defendants’ actions were motivated by Dr. Cofield’s protected activities.

       160.    Defendants retaliated against Dr. Cofield pursuant to an official policy or

Defendants LaRoche and Kalifey-Aluise, who had authority to institute corrective measures, had

actual knowledge of discrimination, and responded with deliberate indifference.

       161.    Defendants engaged in retaliation with malice or reckless indifference to Dr.

Cofield’s federally protected rights.

       162.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, including emotional distress, and punitive

damages, and she has incurred attorneys’ fees and costs.



                                                29
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 30 of 42




                                         COUNT 7
                               Discrimination in Violation of
                         Title VII of the Civil Rights Act of 1964,
                                     42 U.S.C. §2000e
(Against all Defendant KIPP and all individually named defendants in their official capacity)

       163.     Dr. Cofield repeats and realleges all paragraphs of this Complaint as if fully set

forth herein.

       164.     Dr. Cofield belongs to two protected classes based on her race (Black) and gender

(female).

       165.     Dr. Cofield has at all times been qualified to perform her job responsibilities and

performed them at all times at least satisfactory.

       166.     Based on her race and gender, Defendants denied Dr. Cofield, a Black woman, the

protections against race and gender discrimination provided by Title VII in the terms and

conditions of her employment by denying her the same benefits, privileges, and terms and

conditions of her contractual employment relationship that her white and male counterparts.

       167.     Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white and male counterparts by subjecting her to

adverse treatment in the terms and conditions of employment because of her race and gender,

including but not limited to, paying her less than her white and male peers, refusing her requests

for raises, and terminating her from her employment.

       168.     This differential treatment was motivated by Dr. Cofield’s race and gender.

       169.     Defendants discriminated against Dr. Cofield based on her race and gender, denied

her equal rights to make and enforce contracts, and denied her full and equal benefits of the laws.

       170.     Defendant KIPP, and Defendants LaRoche and Kalifey-Aluise, in their official

capacities, are liable for the acts and/or omissions of its agents and employees. Defendants, either


                                                 30
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 31 of 42




directly or by and through their agents, directly and proximately caused Dr. Cofield’s severe

injuries, damages, and losses.

       171.     As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, including emotional distress, and punitive

damages, and she has incurred attorneys’ fees and costs.

       172.     The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

                                        COUNT 8
                               Retaliation in Violation of
                        Title VII of the Civil Rights Act of 1964,
                                    42 U.S.C. §2000e
  (Against Defendant KIPP and all individually-named defendants in their official capacity)

       173.     Dr. Cofield repeats and realleges all paragraphs of this Complaint as if fully set

forth herein.

       174.     Dr. Cofield engaged in protected activity when she opposed and complained of the

practices that were discriminatory against Black women. These included KIPP’s practices that she

observed, as well as those personally experienced, during her employment. Dr. Cofield also

engaged in protected activity when she tried to rectify this discrimination with advocacy and other

efforts to achieve equal pay for female Black employees (herself and others) by her to achieve

equal pay for female Black employees (herself and others).

       175.     Dr. Cofield believed in good faith that her complaints were regarding

discrimination on the basis of race as prohibited by federal law.

       176.     Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white counterparts by subjecting her to adverse

treatment in the terms and conditions of employment because of her gender and race, including


                                                31
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 32 of 42




but not limited to, paying her less than her white peers, refusing her requests for raises, and

terminating her from her employment.

        177.    Defendants’ actions were motivated by Dr. Cofield’s protected activities.

        178.    Dr. Cofield was treated less favorably than employees who did not engage in

protected activities.

        179.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages and benefits, compensatory damages, and punitive damages against the individually-

named Defendants, and she has incurred attorneys’ fees and costs.


                                       COUNT 9
    Consolidated Omnibus Budget Reconciliation Act (“COBRA”) and the Employment
                      Income Retirement Security Act (“ERISA”)
       (Defendant KIPP and individually-named Defendants in their official capacity)

        180.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.

        181.    Defendants sponsor a group health plan, which is a covered health plan under the

Employee Retirement Income Security Act (“ERISA”).

        182.    Dr. Cofield is a qualified beneficiary under KIPP’s health plan (the “Health Plan”)

because she was a covered individual of the group health plan during her employment.

        183.    Dr. Cofield suffered a qualifying event when was wrongfully terminated from her

employment by Defendants as she was terminated for reasons other than gross misconduct on

January 8, 2021.

        184.    Defendant was required to provide notice of coverage within 14 days of the

termination, and that notice was required to include fourteen categories of information as required

by 29 CFR § 2590.606-4(b)(4).




                                                32
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 33 of 42




       185.    Finally, on June 7, 2021, 137 days late, Dr. Cofield first received notice regarding

her rights under COBRA.

       186.    Dr. Cofield suffered economic losses as a result of the failure to provide notice of

her right to continued coverage.

                                         COUNT 10
                       American Rescue Plan Act of 2021 (“ARPA”)
          (Against KIPP and individually-named defendants in their official capacity)

       187.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.

       188.    As described supra, KIPP and Dr. Cofield had certain rights and obligations under

COBRA and ERISA. As a result, both fall under the purview of the newly enacted ARPA.

       189.    The ARPA provides for an employer-paid COBRA subsidy whereby employers

must cover 100% of an employee’s cost of continuing group health coverage (including medical,

dental, and vision coverage) from April 1, 2021, through September 30, 2021.

       190.    The ARPA requires employer-paid coverage for Dr. Cofield, as she lost her health

care coverage on account of an involuntary termination on January 8, 2021.

       191.    ARPA became effective on April 1, 2021, and required that employers provide

notices to all employees subjected to involuntary termination as far back as October 2019.

       192.    The ARPA required employers to give notice to these individuals by May 31, 2021,

and that notice had to occur regardless of whether an individual requested that notice.

       193.    Finally, 7 days late, on June 7, 2021, Dr. Cofield first received notice regarding her

rights under the ARPA.

       194.    As a result of the failure to provide timely notice, Dr. Cofield suffered economic

losses as a result of the failure to provide Dr. Cofield notice of her right to continued coverage.




                                                 33
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 34 of 42




                                       COUNT 11
                   Discrimination in Violation of La. R.S. 23:332(A)(1)
   (Against Defendant KIPP and individually-named defendants in their official capacities)

       195.    Dr. Cofield incorporates all paragraphs alleged in this Complaint.

       196.    Dr. Cofield belongs to two protected classes: she is Black and she is female.

       197.    Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white male counterparts by subjecting her to

adverse treatment in the terms and conditions of employment because of her gender and race,

including but not limited to, paying her less than her male peers, refusing her requests for raises,

and terminating her from her employment.

       198.    This differential treatment was motivated by Dr. Cofield’s membership in protected

classes.

       199.    Dr. Cofield was qualified for the positions she held.

       200.    Defendant KIPP and Defendants LaRoche and Kalifey-Aluise in their official

capacities are liable for the acts and/or omissions of its agents and employees. Defendants, either

directly or by and through their agents, directly and proximately caused Dr. Cofield’s severe

injuries, damages, and losses.

       201.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, and emotional damages.

       202.    Defendant’s unlawful and discriminatory conduct in violation of La. R.S.

23:332(A)(1) was outrageous and malicious, was intended to Dr. Cofield, and was done with

conscious disregard of Dr. Cofield’s civil rights, entitling Dr. Cofield to an award of attorneys’

fees under La. R.S. 23:303.




                                                34
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 35 of 42




                                       COUNT 12
                    Retaliation in Violation of La. R.S. 23:332(A)(2)
  (Against Defendant KIPP, and individually-named defendants in their official capacities)

        203.    Dr. Cofield incorporates all paragraphs alleged in this Complaint

        204.    At all relevant times, Dr. Cofield was well qualified for her position.

        205.    Dr. Cofield opposed and complained of the discriminatory practices observed, as

well as those personally experienced, in her employment. Dr. Cofield also tried to rectify this

discrimination with advocacy and other efforts to achieve equal pay for female Black employees

(herself and others) by her to achieve equal pay for female Black employees (herself and others).

        206.    Dr. Cofield believed in good faith that her complaints were regarding

discrimination the basis of race and gender as prohibited by Louisiana law.

        207.    Defendants subjected Dr. Cofield to adverse employment actions and treated Dr.

Cofield less favorably than her similarly situated white male counterparts by subjecting her to

adverse treatment in the terms and conditions of employment because of her gender and race,

including but not limited to, paying her less than her male peers, refusing her requests for raises,

and terminating her from her employment.

        208.    Defendants’ actions were motivated by Dr. Cofield’s protected activities.

        209.    Dr. Cofield was treated less favorably than employees who did not engage in

protected activities.

        210.    Defendants unlawful and retaliatory conduct in violation of La. R.S. 23:332(A)(2)

was outrageous and malicious, was intended to injure the plaintiff, and was done in conscious

disregard of plaintiffs’ civil rights, entitling the plaintiff to an award of attorneys’ fees under

La.R.S. 23:3030.




                                                 35
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 36 of 42




        211.     As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, and emotional damages.

        212.     Defendant KIPP and Defendants Laroche and Kalifey-Aluise in their official

capacities are liable for the acts and/or omissions of its agents and employees. Defendants, either

directly or by and through their agents, directly and proximately caused Dr. Cofield’s severe

injuries, damages, and losses.

                                            COUNT 13
                                   Discrimination in Violation of
               Article 1, Section 3 and Section 12 of Louisiana Constitution of 1974
                                      (Against all Defendants)

        213.     Dr. Cofield hereby incorporates all preceding paragraphs of this Complaint as

though fully set forth herein.

        214.     Under the Louisiana Constitution: “No person shall be denied the equal protection

of the laws. No law shall discriminate against a person because of race or religious ideas, beliefs,

or affiliations. No law shall arbitrarily, capriciously, or unreasonably discriminate against a person

because of birth, age, sex, culture, physical condition, or political ideas or affiliations.”

        215.     Dr. Cofield further has a right to be free from discrimination based on race or gender

in all public areas and facilities.

        216.     As a Black female, Dr. Cofield belongs to several protected classes.

        217.     Defendants treated Dr. Cofield differently than white males when, among other

actions, she was subjected to adverse employment actions when she was paid less than her male

peers, refused raises, and terminated.

        218.     This differential treatment was due to Dr. Cofield’s membership in protected

classes.

        219.     Dr. Cofield was qualified for the positions she held.

                                                  36
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 37 of 42




       220.    The unequal, and discriminatory, treatment of Dr. Cofield stemmed from

Defendants’ discriminatory intent.

       221.    The individual Defendants engaged personally in the deprivation of Dr. Cofield’s

constitutional rights as they perpetuated, and engaged in, the differential treatment, and although

aware of the constitutional violations, did nothing to remedy the violations.

       222.    Defendant KIPP, and all the Defendants in their Official Capacities, are liable

because Defendant the final policymaker Kalifey-Aluise deprived Dr. Cofield of her constitutional

rights, all actions taken against her were taken pursuant to an official policy and custom or practice

of KIPP. Further, Defendants KIPP and Kalifey-Aluise failed to train and supervise Defendant

LaRoche resulting in the constitutional deprivation. Further, KIPP failed to adopt necessary

policies to ensure employees’ constitutional rights were protected and fostered a pattern or practice

of discrimination against individuals in protected classes.

       223.    Defendants failed to intervene despite awareness of the unreasonable risk that Dr.

Cofield’s rights were being violated and were deliberately indifferent to that risk.

       224.    Defendants’ policy or custom was the moving force leading to the violation of Dr.

Cofield’s constitutional rights.

       225.    Defendants’ conduct violated the clearly established rights of Dr. Cofield, which

reasonable persons in Defendants’ position knew or should have known.

       226.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, compensatory and special damages, attorneys’ fees, and costs.

       227.    Defendants acted under color of state law, using a power possessed by virtue of

state law, when depriving Dr, Cofield of her rights.




                                                 37
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 38 of 42




        228.   The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.

                                           COUNT 14
                              Freedom of Speech and Association,
               Article I, Section 7, and Section 9 of the Louisiana Constitution,
                                     (Against all Defendants)

        229.   Dr. Cofield hereby incorporates all preceding paragraphs of this Complaint as

though fully set forth herein.

        230.   Under the Louisiana Constitution: “No law shall curtail or restrain the freedom of

speech or of the press. Every person may speak, write, and publish his sentiments on any subject,

but is responsible for abuse of that freedom.”

        231.   Further, Dr. Cofield has the right to petition for redress of her grievances.

        232.   Dr. Cofield exercised her right to freedom of speech as afforded by the Louisiana

Constitution by speaking out about matters of public concern when she opposed gender and race

discrimination based on pay inequity as to herself and other Black female employees. She further

exercised these rights by advocating for equitable pay for herself and other Black employees of

KIPP.

        233.   Dr. Cofield’s protected speech was not made pursuant to her official job duties.

        234.   Dr. Cofield associated with female Black employees to complain of race

discrimination with respect to pay inequities.

        235.   Defendants intentionally and willfully retaliated against Dr. Cofield for exercising

her freedom of speech and association by subjecting her to illegal employment practices and

policies including failing to pay her equal to her peers, refusing her requests for raises, and

terminating her.




                                                 38
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 39 of 42




       236.    Defendants’ retaliatory conduct was substantially motivated by Dr. Cofield’s

exercise of freedom of speech and association.

       237.    Dr. Cofield’s interest in the speech outweighs the government's interest in the

efficient provision of public service.

       238.    Defendant KIPP, and all the Defendants in their Official Capacities, are liable

because the final policymaker Kalifey-Aluise deprived Dr. Cofield of her constitutional rights, all

actions taken against Dr. Cofield were taken pursuant to an official policy and custom or practice

of KIPP, Defendants KIPP and Kalifey-Aluise failed to train and supervise the Defendant LaRoche

resulting in the constitutional deprivation, KIPP failed to adopt necessary policies to protect

employees’ constitutional rights, and because there is a pattern or practice of retaliating against

individuals who engage in activity protected by the First Amendment.

       239.    Defendants’ policy or custom was the moving force leading to the violation of Dr.

Cofield’s constitutional rights.

       240.    Defendants’ conduct violated the clearly established rights of Dr. Cofield, which

reasonable persons in Defendants’ position knew or should have known.

       241.    Defendants failed to intervene despite awareness of the unreasonable risk that Dr.

Cofield’s rights were being violated and were deliberately indifferent to that risk.

       242.    As a result of Defendants’ misconduct, Dr. Cofield suffered damages, including

lost wages, compensatory and special damages, attorneys’ fees, and costs.

       243.    The conduct of the Defendants in their individual capacities violated Dr. Cofield’s

clearly established rights.




                                                 39
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 40 of 42




                                       COUNT 15
                    Discrimination and Retaliation in Violation of the
                             Louisiana Human Rights Act
 (Against Defendant KIPP and the individually named defendants in their official capacities)

        244.    Dr. Cofield hereby incorporates all preceding paragraphs of this Complaint as

though fully set forth herein.

        245.    The Louisiana Human Rights Act (“LHRA”) is intended to “safeguard all

individuals within the state from discrimination because of . . . race . . .[or] sex . . . in connection

with employment . . . ; to protect their interest in personal dignity and freedom from humiliation;

to make available to the state their full productive capacities in employment . . .; and to further the

interest, rights, and privileges within the state.” La. R.S. § 51:2231.

        246.    The LHRA makes it unlawful for an employer, as defined by LEDL, “[t]o retaliate

or discriminate in any manner against a person because he has opposed a practice declared

unlawful by this Chapter or by [LEDL],” La. R.S. § 51:2256, and provides civil remedies for “any

person deeming himself injured by” such unlawful conduct. La. R.S. § 51:2264.

        247.    At all times relevant to this action, the LHRA has been in full force and effect and

has applied to Defendants’ conduct.

        248.    As set forth above, Defendants discriminated against Dr. Cofield on the basis of her

gender and race in connection with her employment, as prohibited by the LHRA.

        249.    Defendants retaliated against Dr. Cofield because of her complaints regarding race

and gender discrimination, and efforts by her to achieve equal pay for female Black employees

(herself and others) at KIPP, when they paid her less than her peers, denied her requests for a raise,

and terminated her employment.

        250.    Defendant engaged in conduct materially adverse to a reasonable employee and

took adverse employment actions against Dr. Cofield.

                                                  40
      Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 41 of 42




       251.    The adverse actions taken against Dr. Cofield were in retaliation for complaints

regarding race and gender discrimination and were motivated by retaliatory animus.

       252.    Defendants are liable for the acts and/or omissions of their agents and employees.

Defendants, either directly or by and through their agents, directly and proximately caused Dr.

Cofield’s severe injuries, damages, and losses.

       253.    As a result of Defendants’ retaliation, Dr. Cofield has suffered and continues to

suffer damages, including but not limited to lost wages and emotional damages, and is thus entitled

to all damages and remedies available under LEDL and the LHRA.

       254.    Defendants’ unlawful and retaliatory conduct in violation of La. R.S. 23:332(A)(2)

was outrageous and malicious, was intended to injure Dr. Cofield, and was done in conscious

disregard of Dr. Cofield’s civil rights, entitling Dr. Cofield to an award of attorneys’ fees under

La. R.S. 23:3030.

                                   VII.   RELIEF REQUESTED

       WHEREFORE Plaintiff Naressa Cofield requests judgment be entered against Defendants

and that the Court grant the following:

           a. Declaratory relief;

           b. Injunctive relief;

           c. Judgment against Defendants for Plaintiff’s asserted causes of action;

           d. Special damages;

           e. Damages in such an amount as shall be proven at trial for back-pay and damages

               including lost benefits, wages, promotions, tenure, seniority, lost promotions, and

               other employment opportunities;

           f. Award of compensatory damages including for emotional distress;

           g. Costs of medical expenses;
                                                  41
Case 2:21-cv-02223-LMA-DPC Document 1 Filed 12/03/21 Page 42 of 42




    h. An order for Defendants to reinstate Dr. Cofield or, in the alternative, to pay for

        front-pay and benefits;

    i. Punitive damages;

    j. Civil penalties;

    k. Award of treble damages;

    l. Award of liquidated damages;

    m. Award costs and attorneys’ fees;

    n. Pre- and post-judgment interest; and

    o. Order such other and further relief, at law or in equity, to which Dr. Cofield may

        be justly entitled.

 PLAINTIFF REQUESTS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE

 Respectfully submitted this 3rd day of December, 2021,


                                     /s/    Casey Denson
                                     Casey Rose Denson (La. Bar #33363)
                                     Justine G. Daniel (La. Bar #36856)
                                     CASEY DENSON LAW, LLC
                                     4601 Dryades Street
                                     New Orleans, LA 70115
                                     Phone: (504) 224-0110
                                     Fax: (504) 534-3380
                                     cdenson@caseydensonlaw.com
                                     jdaniel@caseydensonlaw.com
                                     Attorneys for Plaintiff Naressa Cofield




                                        42
